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 7                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8                              EASTERN DISTRICT OF CALIFORNIA
 9
10      UNITED STATES OF AMERICA,           )              NO. 1:08-CR-00213-AWI
                                            )
11                        Plaintiff,        )              ORDER ADVANCING
                                            )              SENTENCING DATE
12            v.                            )
                                            )
13      OMAR TORRES MARQUEZ,                )
                                            )
14                        Defendant.        )
        ____________________________________)
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16
            Pursuant to the stipulation filed by the parties on March 31, 2010, the Sentencing hearing
17
     currently scheduled for Friday, May 3, 2010, is vacated and this matter is advanced to Monday,
18
     April 12, 2010, at 9:00 a.m.
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     IT IS SO ORDERED.
21
     Dated:     April 1, 2010                         /s/ Anthony W. Ishii
22   0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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